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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

JUSTIN MICHAEL KENNEDY,

              Plaintiff,

v.                                                           CV No. 20-791 CG/KRS

VERIFIED INFORMATION SERVICES, INC.,

              Defendant.

     ORDER GRANTING STIPULATED MOTION FOR DISMISSAL WITH PREJUDICE

        THIS MATTER is before the Court on the parties’ Stipulation of Dismissal (the

“Stipulation”), (Doc. 8), filed December 29, 2020. The Court, having reviewed the

Stipulation, finds it shall be APPROVED.

        IT IS THEREFORE ORDERED that Plaintiff’s Complaint, (Doc. 1), is dismissed

with prejudice, without costs.

        IT IS SO ORDERED.




                                  THE HONORABLE CARMEN E. GARZA
                                  CHIEF UNITED STATES MAGISTRATE JUDGE
